    Case 1:06-cr-00074-WJG-JMR             Document 37        Filed 03/15/07    Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA
VERSUS                                                     CRIMINAL NO. 1:06cr74WJG-JMR-2
BRYAN HERBERT RODGERS
a/k/a Caesar Leo

                                    ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court
endorsed hereon, the United States Attorney for the Southern District of Mississippi hereby
dismisses the Indictment in 1:06cr74WJG-JMR-2 against Defendant Bryan Herbert Rodgers
a/k/a Caesar Leo, without prejudice.


                                             DUNN LAMPTON
                                             United States Attorney

                                             By:     s/ John A. Meynardie
                                                     JOHN A. MEYNARDIE
                                                     Assistant United States Attorney

       Leave of Court is granted for the filing of the foregoing dismissal.
       SO ORDERED this 15th day of March, 2007.


                                               UNITED STATES SENIOR DISTRICT JUDGE
